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  10   his official capacity as Attorney General of
       the State of California, and Brent E. Orick,
  11   in his official capacity as Interim Director of
       the Department of Justice Bureau of
  12   Firearms
  13                     IN THE UNITED STATES DISTRICT COURT
  14                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  15
  16
  17
       JAMES MILLER, et al.,                         19-cv-1537 BEN-JLB
  18
                                       Plaintiffs,
  19
                    v.                               DECLARATION OF
  20                                                 CHRISTOPHER B. COLWELL,
                                                     M.D., IN SUPPORT OF
  21   CALIFORNIA ATTORNEY                           DEFENDANTS’ OPPOSITION TO
       GENERAL XAVIER BECERRA,                       MOTION FOR PRELIMINARY
  22   et al.,                                       INJUNCTION
  23                                 Defendants.
  24
  25
  26
  27
  28

                   Declaration of Christopher B. Colwell, M.D. (19-cv-1537 BEN-JLB)
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                                       Curriculum Vitae
                         Christopher Beall Colwell, M.D


     Current Position:

     Chief, Department of Emergency Medicine
     Zuckerberg San Francisco General Hospital and Trauma Center
     Professor and Vice Chair, Department of Emergency Medicine
     UCSF School of Medicine

     Work Address:

     Zuckerberg San Francisco Hospital and Trauma Center
     Department of Emergency Medicine
     1001 Potrero Ave. #6A02
     San Francisco, CA 94110

     Christopher.Colwell@ucsf.edu
     Phone: (415) 206-2518
     Fax: (415) 206-5818

     Board Certification:

        1) American Board of Emergency Medicine 1997
                 Re-certification 2007, 2017
        2) American Board of Emergency Medicine – Emergency Medical Services 2015

     NPI number – 1629092788
     California license – G142756 (active)
     Colorado license – 34341 (not active)
     Michigan license – 4301059401 (not active)


     Education:


     Undergraduate:         University of Michigan
                            Ann Arbor, Michigan
                            Bachelor of Science Degree, 1988

     Medical School:        Dartmouth Medical School
                            Hanover, New Hampshire
                            Medical Doctorate, 1992
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     Internship:        St. Joseph Mercy Hospital/University of Michigan
                        Ann Arbor, Michigan
                        Transitional Medicine, 1993

     Residency:         Denver Affiliated Residency in Emergency Medicine
                        Denver, Colorado, 1993-1996
                        Chief Resident 1995-1996




     Academic appointments:


           1. Professor and Vice Chair
              Department of Emergency Medicine
              University of California at San Francisco School of Medicine
              2016 - Present

           2. Professor of Emergency Medicine
              Department of Emergency Medicine
              University of Colorado School of Medicine
              2012-2016

           3. Executive Vice Chair, Department of Emergency Medicine, 2010 - 2016
              University of Colorado School of Medicine
              2010-2016

           4. Associate Professor of Emergency Medicine
              Department of Emergency Medicine
              University of Colorado School of Medicine
              2010-2012

           5. Associate Professor of Emergency Medicine
              Division of Emergency Medicine, Department of Surgery
              University of Colorado Health Sciences Center
              2004-2009

           6. Assistant Professor of Emergency Medicine
              Division of Emergency Medicine, Department of Surgery
              University of Colorado Health Sciences Center
              Denver, Colorado
              1998-2004

           7. Assistant Professor of Emergency Medicine
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               Department of Emergency Medicine, University of Michigan School of
               Medicine
               Ann Arbor, Michigan
               1996-1998


     Clinical appointments:


        1. Chief of Emergency Medicine, 2016-present
           Department of Emergency Medicine
           Zuckerberg San Francisco General Hospital and Trauma Center
           San Francisco, California

        2. Director of Emergency Medicine, 2010 – 2016
           Interim Director of the Department of Emergency Medicine, 2009-2010
           Associate Director, 2000-2009
           Attending Physician, 1998-2016
           Department of Emergency Medicine
           Denver Health
           Denver, Colorado

        3. Program Director, EMS Fellowship
           2000-2012

        4. Medical Director, Denver Paramedic Division
           2000-2012

        5. Medical Director, Denver Fire Department
           2000-2010

        6. Associate Director, Denver Paramedic Division
           1998-2000

        7. Senior Associate Director, Denver Health Residency in Emergency Medicine
           2009 - 2016

        8. Attending Physician, 1996-1998
           St. Joseph Mercy Hospital/University of Michigan
           Ann Arbor, Michigan



     Honors and Awards:        2017-2018 Quarterly Resident Bedside Teaching Award
                               UCSF Department of Emergency Medicine
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                            Outstanding Contributions - Best Authors in Adult
                            Emergency Medicine
                            UpToDate – Wolters Kluwer
                            March, 2017

                            2016 Career Service Award
                            Denver Health and Hospital Association
                            Medical Staff Awards
                            September 21st, 2016

                            The Peter Rosen Leadership Award
                            Presented by the 2016 Emergency Medicine Residency
                            at Denver Health for Outstanding Departmental
                            Leadership
                            June 27th, 2016

                            2016 Financial Vitality Pillar Award
                            For largest increase in charges and revenue while
                            maintaining same cost
                            June 9th, 2016

                            Meritorious Service Award
                            Presented by the Colorado Chapter of the American
                            College of Emergency Physicians for Achievements that
                            have Enhanced Colorado’s Health Care System and the
                            Profession of Emergency Medicine in Colorado.
                            January 20th, 2015

                            2015 Patient Safety and Quality Pillar Award
                            For meticulous, high-quality, and thoughtful design and
                            implementation of Denver Health’s Ebola Preparedness
                            Plan
                            June, 2015

                            The Corey M. Slovis Award for Excellence in
                            Education. U.S. Metropolitan Municipalities EMS
                            Medical Directors Consortium, February, 2015


                            Positively Collaborative Award for outstanding
                            collaboration towards the improvement of Colorado’s
                            trauma system. Trauma Program, Colorado
                            Department of Public Health and Environment,
                            January, 2012
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                                The Vincent J. Markovchick Program Director’s
                                Award 2011

                                Distinctive Service Award – Denver Paramedic Division
                                2010

                                Chief Executive Officer Special Commendation Award
                                for expert medical leadership of Denver’s 911 system,
                                2009

                                Mayor’s Award of Appreciation for assistance and aid
                                to Hurricane Katrina evacuees. 2005

                                Ernest E. Moore Award for Outstanding Contributions
                                in Trauma Care, 2000

                                Outstanding Senior Resident, 1996

                                Chief Resident, Emergency Medicine Residency, 1995-
                                1996



     Membership in professional organizations:

        1. American College of Emergency Physicians (ACEP), 1994-present
              a. Fellow, 1999-present
              b. Colorado ACEP, 1993-1996, 1998-present
              c. Michigan ACEP, 1996-1998
        2. American Medical Association (AMA), 1993-2000, 2006-present
        3. National Association of EMS Physicians (NAEMSP), 2002-present
        4. Society for Academic Emergency Medicine (SAEM), 1995-2000, 2008-present
        5. Emergency Medicine Residents Association (EMRA), 1992-1997




     Major Committee, Teaching, and Service Responsibilities:

           1. Section Editor, Traumatic Emergencies. Corependium Emergency Medicine
              Textbook
           2. UCSF Ad Hoc Committee for Faculty Misconduct Investigations, Standing
              Panel. 2019 – 2022
           3. San Francisco Pride Parade - Medical Coverage (with San Francisco Fire
              Department). June 30th, 2019
           4. Medical Executive Committee, Zuckerberg San Francisco General Hospital
              and Trauma Center. 2016-present
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           5. ZSFG CPG Board of Directors. 2016-present
           6. UCSF Department of Emergency Medicine Incentive Review Committee.
               2016 – present
           7. Zuckerberg San Francisco General Hospital and Trauma Center Trauma Peer
               Review Committee. 2016-present
           8. Board of Directors, American College of Emergency Physicians – Colorado
               Chapter, 2007-2011
           9. Conference Director, Annual Rocky Mountain Conference in Trauma and
               Emergency Medicine, 2003 – 2016
           10. American Board of Emergency Medicine (ABEM) Oral Board Examiner,
               2011 - present
           11. Course Director, Introduction to Traumatic Emergencies, (SURG 6623)
               University of Colorado School of Medicine, 1999
                   a. A course for second year medical students that introduces the student
                       to selected traumatic emergencies and their management
           12. Course Director, Prehospital Medicine (SURG 6626), University of Colorado
               at Denver School of Medicine, 2005-2016
                   a. A course for first and second year medical students that introduces
                       them to prehospital medicine and includes clinical time riding on an
                       ambulance
           13. Course Director, Flight Medicine (SURG 6628), University of Colorado at
               Denver School of Medicine, 2009-2016
                   a. A course for second year medical students (SURG 6626 is a pre-
                       requisite) that introduces the student to flight medicine and includes
                       clinical time riding in a helicopter as well as fixed wing airplane
                       transport
           14. Instructor, Introduction to Traumatic Emergencies, (SURG 6623) University
               of Colorado School of Medicine, 1999-2016
           15. Lecturer, Injury Epidemiology and Control (PRMD 6637), University of
               Colorado School of Medicine, 2003
           16. Instructor, Emergency Medicine at Denver Health Medical Center (SURG
               8005), University of Colorado School of Medicine, 1998-2016
           17. Instructor, Integrated Clinicians Course (ICC) 8005: Preparing for Internship:
               Reading and Understanding EKGs
           18. Instructor, Integrated Clinicians Course (ICC) IDPT 7003: Management of
               Trauma, University of Colorado School of Medicine, 2011
           19. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
               Trauma, University of Colorado School of Medicine, 2010. Lecturer and
               small group leader
           20. Instructor, Integrated Clinicians Course (ICC) IDPT 7004: Management of
               Trauma, University of Colorado School of Medicine, 2009. Lecturer and
               small group leader
           21. Member, Medical Staff Executive Committee, 2009-present
           22. Member, Denver Health Executive Committee for Patient Safety and Quality,
               2006-2016
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           23. Council Member, Colorado’s Mile High Regional Emergency and Trauma
               Advisory Council (RETAC), Denver County appointed representative, 2000-
               2016
           24. Committee chair, Destination and Diversion committee, Mile High RETAC
               2002-2016
           25. Member, State EMS Formulary Task Force, 2006 – 2009
           26. Member, Pediatric Trauma Committee, 2006-present
           27. Member, Rocky Mountain Center for Medical Response (RMCMR), 2002-
               2016
           28. Member, Colorado State Advisory Council on Emergency Medical Services,
               1998-2000
           29. Ute Mountain Ute EMS Program medical director, 1994-1996
           30. Steering Committee member, Denver Health Residency in Emergency
               Medicine, 1998-2016
           31. Denver Health Residency in Emergency Medicine Compliance Committee,
               2006-2014
           32. Pharmacy and Therapeutics Committee member, Denver Health Medical
               Center, 1998-2006
           33. EMS Education committee member, Denver Health Medical Center, 1998-
               2016
           34. Safety Committee member, Denver Health Medical Center, 1998-2001
           35. Residency Advisory Committee, Denver Health Medical Center Residency in
               Emergency Medicine, 1998-2016
           36. Moderator, Case Presentations, Rocky Mountain Critical Care Transport
               Conference, May, 2003
           37. Instructor, Difficult Airway Lab, Rocky Mountain Critical Care Transport
               Conference, May, 2003
           38. Trauma Center Site Surveyor, State of Florida Department of Health and
               Rehabilitative Services, Office of Emergency Medical Services, 2003-present
                   a. Trauma site review – 10/23 – 10/25, 2019
           39. Member, Denver EMS Council, 1998-2016
           40. Member, Denver Metro Physician Advisors, 1999-2016
           41. Medical Expert and Faculty, Boulder Trial Academy, International
               Association of Defense Counsel, 1998-2002
           42. Member, Medical Advisory Group (MAG), to the Colorado State EMS
               Director, 2003-2008
           43. Transfusion Committee member, St. Joseph Mercy Hospital, Ann Arbor,
               Michigan. 1996-1998
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     Editorial Positions

            1. Section Editor, Trauma, UpToDate, 2009 - present
            2. Section Editor, Abstracts
               The Journal of Emergency Medicine, 1999-2002
            3. Review Editor, The Journal of Emergency Medicine, 1999-2008
            4. Review Editor, Western Journal of Emergency Medicine, 2008 - present
            5. Manuscript reviewer, Academic Emergency Medicine, 2003 – present
            6. Manuscript reviewer, Critical Care, 2008-present
            7. Manuscript reviewer, Patient Safety in Surgery, 2009-present
            8. Guest Editor, EM International, Prehospital Care


     Publications:

     Peer Reviewed Journal Articles

            1. Shapiro M, Dechert, Colwell C, Bartlett R, Rodriguez: Geriatric Trauma:
                Aggressive Intensive Care Management is Justified. American Surgeon
                1994;60(9):695-8
            2. Colwell C, Pons PT, Blanchet J, Mangino C: Claims Against a Paramedic
                Ambulance Service: A Ten Year Experience. J Emerg Med 1999, 17(6):999-
                1002
            3. Apfelbaum J, Colwell C, Roe E: Precipitous Breech Delivery of Twins: A
                Case Report. Prehospital Emerg Care 2000; 4(1):78-81
            4. Gnadinger CA, Colwell C, Knaut AL: Scuba Diving-Induced Pulmonary
                Edema in a Swimming Pool. J Emerg Med 2001; 21(4):419-421
            5. Houry D, Colwell C, Ott C: Abdominal Pain in a Child after Blunt Abdominal
                Trauma: An Unusual Injury. J Emerg Med 2001; 21(3):239-241
            6. Barton E, Ramos J, Colwell C, Benson J, Bailey J, Dunn W: Intranasal
                Administration of Naloxone by Paramedics. Prehosp Emerg Care 2002; 6:54-
                8
            7. Colwell C, Pons PT, Pi R: Complaints Against an EMS System. J Emerg Med
                2003;25(4):403-408
            8. Colwell C, McVaney K, Haukoos J, Wiebe D, Gravitz C, Dunn W, Bryan T:
                An Evaluation of Out-of-Hospital Advanced Airway Management in an
                Urban Setting. Acad Emerg Med 2005; 12(5):417-22
            9. McVaney KE, Macht M, Colwell CB, Pons PT: Treatment of Suspected
                Cardiac Ischemia with Aspirin by Paramedics in an Urban Emergency
                Medical Services System. Prehospital Emerg Care 2005, 9(3):282-284
            10. Barton E, Colwell CB, Wolfe TR, Fosnocht D, Gravitz C, Bryan T, Dunn W,
                Benson J, Bailey J: The Efficacy of Intranasal Naloxone as a Needleless
                Alternative for Treatment of Opiate Overdose in the Prehospital Setting. J
                Emerg Med 2005;29(3):265-71
            11. Levine SD, Colwell CB, Pons PT, Gravitz C, Haukoos JS, McVaney KE:
                How Well do Paramedics Predict Admission to the Hospital? A Prospective
                Study. J Emerg Med 2006;31(1):1-5
Case 3:19-cv-01537-BEN-JLB Document 33-2 Filed 01/23/20 PageID.3477 Page 14 of 53




           12. Colwell CB: Case Studies in Infectious Disease: Travel-Related Infections.
               Emerg Med 2006;38(10):35-43
           13. Bonnett CJ, Peery BN, Cantril SV, Pons PT, Haukoos JS, McVaney KE,
               Colwell CB: Surge capacity: a proposed conceptual framework. Am J Emerg
               Med 2007;25:297-306.
           14. Colwell C. Initial evaluation and management of shock in adult trauma. In:
               UpToDate, Basow DS (Ed), UpToDate, Waltham, MA, 2007 - present
           15. Bonnett CJ, Colwell CB, Schock T, McVaney KE, Depass C: Task Force St.
               Bernard: Operational Issues and Medical Management of a National Guard
               Disaster Response. Prehospital and Disaster Medicine 2007;22(5):440-447
           16. Colwell CB: Heat Illness. Emerg Med 2008; 40(6): 33-39
           17. Colwell CB, Cusick JC, Hawkes AP and the Denver Metro Airway Study
               Group: A prospective study of prehospital airway management in an urban
               EMS system. Prehosp Emerg Care 2009; 13:304-310
           18. Colwell CB, Mehler P, Harper J, Cassell L, Vazquez J, Sabel A: Measuring
               quality in the prehospital care of chest pain patients. Prehospital Emerg Care
               2009;13:237-240
           19. Kashuk JL, Halperin P, Caspi G, Colwell CB, Moore EE: Bomb explosions in
               acts of terrorism: Evil creativity challenges our trauma systems. J Am Coll
               Surg 2009; 209(1):134-140
           20. Stone SC, Abbott J, McClung CD, Colwell CB, Eckstein M, Lowenstein SR:
               Paramedic knowledge, attitudes, and training in end-of-life care. Prehospital
               Disaster Medicine 24(6):529-34, Nov-Dec 2009.
           21. Gaither JB, Matheson J, Eberhardt A, Colwell CB: Tongue engorgement
               associated with prolonged use of the King-LT laryngeal tube device. Ann
               Emerg Med, 2009. Ann Emerg Med 2010; 55(4):367-9.
           22. Bookman SJ, Eberhardt AM, Gaither JB, Colwell CB: Hospital Group
               Preparation for the 2008 Democratic National Convention. Journal of
               Homeland Security and Emergency Management 2010; Vol. 7: Iss. 1, Article
               16.
           23. Haukoos JS, Witt G, Gravitz C, Dean J, Jackson D, Candlin T, Vellman P,
               Riccio J, Heard K, Kazatomi T, Luyten D, Pineda G, Gunther J, Biltoft J,
               Colwell CB: Out-of-hospital cardiac arrest in Denver, Colorado:
               Epidemiology and outcomes. Acad Emerg Med 2010; 17(4):391-8.
           24. Haukoos JS, Byyny RL, Erickson C, Paulson S, Hopkins E, Sasson C, Bender
               B, Gravitz C, Vogel JA, Colwell CB, Moore EE. Validation and refinement of
               a rule to predict emergency intervention in adult trauma patients. Ann Emerg
               Med 2011;58:164-171
           25. Colwell CB, Eberhardt A. Less Lethal Force. Emergency Medicine Reports
               2011, 32(18):1-12
           26. Soriya G, McVaney KE, Liao MM, Haukoos JS, Byyny RL, Gravitz C,
               Colwell CB. Safety of prehospital intravenous fentanyl for adult trauma
               patients. J Trauma Acute Care Surg 2012;72(3):755-59
           27. Gudnik MR, Sasson C, Rea TD, Sayre MR, Zhang J, Bobrow BJ, Spaite DW,
               McNally B, Denninghoff K, Stolz U, Levy M, Barger J, Dunford JV, Sporer
               K, Salvucci A, Ross D, Colwell CB, Turnbull D, Rosenbaum R, Schrank K,
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               Waterman M, Dukes R, Lewis M, Fowler R, Lloyd J, Yancey A, Grubbs E,
               Lloyd J, Morris J, Boyle S, Johnson T, Wizner C, White M, Braithwaite S,
               Dyer S, Setnik G, Hassett B, Santor J, Swor B, Chassee T, Lick C, Parrish M,
               Radde D, Mahoney B, Todd D, Salomone J, Ossman E, Myers B, Garvey L,
               Camerson J, Slattery D, Ryan J, McMullan J, Keseg D, Leaming J, Sherwood
               BK, Luther J, Slovis C, Hinchey P, Harrington M, Griswell J, Beeson J,
               Persse D, Gamber M, Ornato J. Increasing hospital volume is not associated
               with improved survival in out of hospital cardiac arrest of cardiac etiology.
               Resuscitation 2012; 83(7):862-8
           28. Mascolo M, Trent S, Colwell CB, Mehler PS. What the Emergency
               Department needs to know when caring for your patients with eating
               disorders. Int J Eat Disord 2012;45(8):977-81
           29. Colwell CB, Bookman S, Johnston J, Roodberg K, Eberhardt AM, McVaney
               KE, Kashuk J, Moore EE. Medical Preparation for the 2008 Democratic
               National Convention. J Trauma Acute Care Surg 2012 Dec;73(6):1624-8
           30. Trent SA, Moreira ME, Colwell CB, Mehler P. ED management of patients
               with eating disorders. Am J Emerg Med 2013 May;31(5):859-65
           31. French AJ, Colwell CB. Atlas of Emergency Ultrasound. J Trauma Acute
               Care Surg 2013:75:919.
           32. Cleveland N, Colwell C, Douglass E, Hopkins E, Haukoos JS. Motor Vehicle
               Crash Severity Estimations by Physicians and Prehospital Personnel. Prehosp
               Emerg Care 2014;18(3):402-7
           33. Macht M, Mull AC, McVaney KE, Caruso EH, Johnston JB, Gaither JB,
               Shupp AM, Marquez KD, Haukoos JS, Colwell CB. Comparison of
               Droperidol and Halperidol for use by paramedics: Assessment of safety and
               effectiveness. Prehosp Emerg Care 2014:18(3):375-80
           34. Nassel AF, Root ED, Haukoos JS, McVaney K, Colwell C, Robinson J, Eigel
               B, Magid DJ, Sasson C. Multiple cluster analysis for the identification of
               high-risk census tracts for out-of-hospital cardiac arrest (OHCA) in Denver,
               Colorado. Resuscitation 2014;85:1667-73
           35. Vogel JA, Seleno N, Hopkins E, Colwell CB, Gravitz C, Haukoos JS. Denver
               Emergency Department Trauma Organ Failure Score outperforms traditional
               methods of risk stratification in trauma. Am J Emerg Med 2015;33(10):1440-
               4
           36. Vogel JA, Newgard CD, Holmes JF, Diercks DB, Arens AM, Boatright DH,
               Bueso A, Gaona SD, Gee KZ, Nelson A, Voros JJ, Moore EE, Colwell CB,
               Haukoos JS; Western Emergency Services Translational Research Network.
               Validation of the Denver Emergency Department Trauma Organ Failure Score
               to Predict Post-Injury Multiple Organ Failure. J Am Coll Surg
               2016;222(1):73-82
           37. Joseph D, Vogel JA, Smith CS, Barrett W, Bryskiewicz G, Eberhardt A,
               Edwards D, Rappaport L, Colwell CB, McVaney KE. Alcohol as a Factor in
               911 Calls in Denver. Prehosp Emerg Care 2018, 22(4):427-35
           38. Hsia RY, Huang D, Mann NC, Colwell C, Mercer MP, Dai M, Niedzwiecki
               MJ. A US National Study of the Association Between Income and Ambulance
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               Response Time in Cardiac Arrest. JAMA Network Open 2018;1(7):e185202.
               doi:10.1001/jamanetworkopen.2018.5202



     Invited Articles, Book Chapters, and Editorials

            1. Colwell C, Harken A: Cardiac Arrhythmias. In: Markovchick V, Pons P(eds)
                Emergency Medicine Secrets. Hanley & Belfus, Inc., Philadelphia, PA; 2nd
                Edition, 1999, pp. 119-123
            2. Murphy P, Colwell C: Prehospital Management of Epiglottitis. EMS 2000;
                29(1):41-9
            3. Murphy P, Colwell C: Prehospital Management of Neck Trauma. EMS 2000;
                29(5):53-71
            4. Murphy P, Colwell C: Heatwave: Prehospital Mangement of Heat Related
                Conditions. EMS 2000; 29(6):33-49
            5. Murphy P, Colwell C: Prehospital Management of Diabetes. EMS 2000;
                29(10):78-85
            6. Murphy P, Colwell C, Bryan T: Noncardiac Chest Pain. EMS 2001;
                30(4):66-71
            7. Murphy P, Colwell C: Communication Breakdown: When Medic and Medical
                Control Don’t Agree. Cover Story, EMS 2001 30(5):61-2
            8. Murphy P, Colwell C, Linder G: Assessment Clues. EMS 2001; 30(7):45-8
            9. Colwell C, Murphy P, Bryan T: Mechanism of Injury: An Overview Cover
                Story, EMS 2003; 32(5):52-64
            10. Colwell C, Harken A: Cardiac Arrhythmias. In: Markovchick V, Pons P(eds)
                Emergency Medicine Secrets. Hanley & Belfus, Inc., Philadelphia, PA; 3rd
                Edition, 2003, pp. 140-143
            11. Kendall J, Colwell C: Pericarditis and Myocarditis In: Markovchick V, Pons
                P (eds) Emergency Medicine Secrets. Hanley & Belfus, Inc., Philadelphia,
                PA; 3rd Edition, 2003, pp. 149-154
            12. Colwell CB, Murphy P, Bryan T. Prehospital Management of the Pregnant
                Patient. EMS 2004; 33(3):59-67.
            13. Colwell CB, Murphy P, Bryan T. Pulseless Electrical Activity. EMS 2004;
                33(9):63-8.
            14. Colwell CB, Murphy P, Bryan T, Nelson S. Psychological Disorders: A
                General Overview. EMS 2004;33(11):74-83.
            15. Colwell C: Traumatic Shock In: Harwood-Nuss A, Wolfson A (eds) The
                Clinical Practice of Emergency Medicine. Lippincott Williams & Wilkins,
                Philadelphia, PA; 4th Edition, 2005; 907-12.
            16. Colwell C, Murphy P, Bryan T. Pediatric Potpourri: An Overview of Select
                Pediatric Conditions. EMS 2005;34(7):50-58
            17. Colwell C, Murphy P, Bryan T. Uncompleted Suicide Attempts. EMS
                2005;34(11):73-86
            18. Murphy P, Colwell CB, Pineda G, Bryan T: Breaking Down Barriers: How
                EMS providers can communicate with autistic patients. EMS 2006;35(4):84-
                89
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           19. Murphy P, Colwell CB, Pineda G, Bryan T: Traumatic Amputations. EMS
               2006; 35(6):90-96
           20. Colwell CB, Murphy P, Bryan T: Geriatric Trauma. EMS 2006;35(9):135-
               140
           21. Colwell CB: Cardiac Dysrhythmias, Pacemakers, and Implantable
               Defibrillators In: Markovchick V, Pons P (eds) Emergency Medicine Secrets.
               Mosby Elsevier, Philadelphia, PA; 4th Edition, 2006: 194-204
           22. Kendall JL, Colwell CB: Pericarditis and Myocarditis In: Markovchick V,
               Pons P (eds) Emergency Medicine Secrets. Mosby Elsevier, Philadelphia, PA;
               4th Edition, 2006: 213-218
           23. Colwell CB: Disasters In: Chapleau W, Pons P (eds) Emergency Medical
               Technician. Mosby JEMS Elsevier, St. Louis, MO, 2007:708-725
           24. Colwell CB: Hyperkalemia In: Schaider J, Hayden SR, Wolfe R, Barkin RM,
               Rosen P (eds): Rosen and Barkin’s 5-Minute Emergency Consult Lippincott
               Williams & Wilkins, Philadelphia, PA; 3rd Edition, 2007: 550-551
           25. Colwell CB: High Altitude Illness In: Schaider J, Hayden SR, Wolfe R,
               Barkin RM, Rosen P (eds): Rosen and Barkin’s 5-Minute Emergency Consult
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               Paramedics: Could this be a better practice? Presented at The First
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           6. Levine S, Colwell C, Pons P, Gravitz C, Haukoos J: How well do
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           9. Haukoos JA, Witt G, Colwell C. The Epidemiology of Out-of-Hospital
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               Cardiac Arrest Registry. Presented at SAEM Annual Meeting, May 30th,
               2008, Washington D.C.
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           11. Moore EE, Kashuk JL, Colwell CB, Barnett C, Burlew CC, Biffl WL,
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               performance improvement for in-hospital mass casualty incident (MCI)
               drills: listen to the patient! International Preparedness & Response to
               Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January 12th, 2010.
           12. Barnett C, Kashuk J, Moore EE, Colwell CB, Johnson JL, Biffl W, Burlew
               CC, Brody A, Sabel A. Notification and Communication: Critical initial
               steps in mass casualty incident drills. International Preparedness & Respons
               to Emergencies and Disasters (IPRED). January 12th, 2010. Tel Aviv, Israel
           13. Colwell CB, Moore EE, Kashuk J, Robinson J, Bookman S. Lessons learned
               from the 2008 Democratic National Convention. International Preparedness
               & Response to Emergencies and Disasters (IPRED). Tel-Aviv, Israel. January
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               pre-hospital single-dose fentanyl in adult trauma patients. Society for
               Academic Emergency Medicine Annual Meeting, Scottsdale, Phoenix, AZ,
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           16. Sasson C, Colwell C, McNally B, Haukoos J. “Associations Between
               Individual-level and Census Tract-level Characteristics and Performance
               of Bystander CPR Among Patients Who Experience Out-of-Hospital
               Cardiac Arrest.” Oral Presentation American Heart Association November
               2010.
           17. Sasson C, Colwell C, McNally B, Dunford J, Haukoos J. “Using the Cardiac
               Arrest Registry to Enhance Survival to Examine Regional Variation in the
               Utilization of Automated External Defibrillators.” Poster Presentation
               Resuscitation Science Symposium American Heart Association November
               2010.
           18. Macht M, Colwell CB, Mull A, Johnston J B, Shupp A, Marquez KD, Gaither
               J, Haukoos J. “Droperidol versus haloperidol for prehospital sedation of
               acutely agitated patients.” Poster presentation at NAEMSP 2012 Annual
               Meeting, January 2012
           19. Nassel A, Haukoos J, McNally B, Colwell CB, Severyn F, Sasson C. “Using
               Geographic Information Systems and Cluster Analysis to identify
               Neighborhoods with High Out of Hospital Cardiac Arrest Incidence and Low
               Bystander Cardiopulmonary Resuscitation Prevalence in Denver, Colorado.”
               Oral Presentation, Society of Academic Emergency Medicine Annual
               Meeting, May 2012, Chicago, Illinois. Acad Emerg Med 2012 19(4) Suppl.1,
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           20. Vogel JA, Arens A, Johnson C, Ruygrok M, Smalley C, Byyny R, Colwell
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                Traumatic Brain Injury”. Oral Presentation, Society of Academic Emergency
                Medicine Annual Meeting, May 2012, Chicago, Illinois. Acad Emerg Med
                2012 19(4) Suppl. 1, #517:S273-S274
            21. Vogel JA, Sasson C, Hopkins E, Colwell CB, Haukoos J. “Systems-Wide
                Cardiac Arrest Interventions Improve Neurologic Survival after Out-of-
                Hosptial Cardiac Arrest”. Moderated Poster Presentation, Society of
                Academic Emergency Medicine Annual Meeting, May 2012, Chicago,
                Illinois. Acad Emerg Med 2012 19(4) Suppl. 1, #615:S324
            22. Muramoto S, Colwell C, Mehler P, Bakes K. “Cost analysis of a hospital-
                based violence intervention program: At-risk intervention and mentoring
                program (AIM).” Poster presentation at 25th Annual Interprofessional
                Research and EBP Symposium, March 2014, Denver, CO.
            23. Huang D, Niedzwiecki M, Mercer M, Colwell CB, Mann C, Hsia R. “Poor
                Neighborhoods Have Slower Response and Transport Times”. Oral
                Presentation, National Association of EMS Physicians (NAEMSP) 2017
                Annual Meeting, New Orleans, LA, January 26th, 2017.
            24. Kanzaria HK, Mercer MP, To J, Costa B, Luna A, Bilinski J, Staconis D, Pitts
                M, Dentoni T, Williams T, Singh MK, Colwell CB, Marks JD. “Using Lean
                Methodology to Create a Care Pathway for Low Acuity Emergency
                Department Patients in a Safety-Net Hospital”. Poster presentation, Society
                for Academic Emergency Medicine (SAEM) 2017. Orlando, FL. May 17th,
                2017.
            25. Niedzwiecki M, Huang D, Mercer M, Colwell CB, Mann NC, Hsia RY. “Do
                Poor Neighborhoods Have Slower EMS Times? Oral presentation, Society for
                Academic Emergency Medicine (SAEM) 2017. Orlando, FL, May 18th, 2017

     Invited Lectures, Presentations, and Visiting Professorships:

            1. Hypertensive Emergencies
               Interdepartmental Grand Rounds, University of Michigan
               Ann Arbor, Michigan, May 1997
            2. Pediatric Meningitis
               Emergency Medicine Grand Rounds, University of Michigan
               Ann Arbor, Michigan, October, 1997
            3. Antibiotic Use in the Emergency Department
               Attending Lecture in Emergency Medicine
               Denver Health Medical Center, Denver, Colorado, October 1998
            4. The Myth of EMS Response Times
               26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, July 1999
            5. Geriatric Trauma
               26th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, July 1999
            6. Mass Casualty and Disaster Management: The Columbine Shootings
               Multidisciplinary Trauma Conference, Denver Health Medical Center
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               Denver, Colorado, September 1999
           7. Mass Casualty and Disaster Management: The Columbine Shootings
               Northeast EMS Conference
               Boston, Massachusetts, September 1999
           8. Mass Casualty and Disaster Management: The Columbine Shootings
               Keynote Address, Winnipeg EMS Conference
               Winnipeg, Canada, October 1999
           9. Mass Casualty and Disaster Management
               Grand Rounds
               Harvard Medical School and Harvard Affiliated Emergency Medicine
               Residency
               October 26th, 1999
               Boston, Massachusetts
           10. Mass Casualty and Disaster Management: The Columbine Shootings
               Pediatric Emergency Care Conference
               Grand Rapids, Michigan, March 2000
           11. Geriatric Trauma
               Trauma Care Appreciation Day
               Denver, Colorado, May 2000
           12. Mass Casualty and Disaster Management: The Columbine Shootings
               Fifth International Conference on Pediatric Trauma
               Beaver Creek, Colorado, June 2000
           13. Complaints Against EMS
               27th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Steamboat, Colorado, July 2000
           14. Mass Casualty and Disaster Management: The Columbine Shootings
               Sixth Annual Trauma Symposium, Cleveland Clinic Health System
               Cleveland, Ohio, October 2000
           15. Mass Casualty and Disaster Management: The Columbine Shootings
               EMS TEST Conference
               Columbus, Georgia, October 2000
           16. Myocardial Infarction
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           17. Hypothermia
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           18. Complaints Against EMS
               Colorado State EMS Conference 2000
               Breckenridge, Colorado, October 2000
           19. Hypothermia
               Rocky Mountain Winter Trauma and Emergency Medicine Conference
               Copper Mountain, Colorado, January 2001
           20. Mechanism of Injury
               Grand Rounds, Longmont Community Hospital
               Longmont, Colorado, March 2001
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           21. Stabilization of the Trauma Patient
               Trauma Care Appreciation Day, Denver Health Medical Center
               Denver, Colorado, April 2001
           22. Mass Casualty and Disaster Management: The Columbine Shootings
               El Paso EMS Conference
               El Paso, Texas, September 2001
           23. Mass Casualty and Disaster Management: The Columbine Shootings
               Memorial Medical Center Trauma Conference
               Johnstown, Pennsylvania, October 2001
           24. Mechanism of Injury
               Colorado State EMS Conference 2001
               Breckenridge, Colorado, October 2001
           25. Mass Casualty and Disaster Management: The Columbine Shootings
               Massachusetts EMS Conference
               Worcester, Massachusetts, December 2001
           26. Mass Casualty and Disaster Management: The Columbine Shootings
               Sierra-Cascade Trauma Society
               Crested Butte, CO, February, 2002
           27. Mass Casualty and Disaster Management: The Columbine Shootings
               Emergency Medicine Grand Rounds, University of Massachusetts
               Worcester, Massachusetts, March 2002
           28. Mass Casualty and Disaster Management: The Columbine Shootings
               Multidisciplinary Trauma Conference, Denver Health Medical Center
               Denver, Colorado, March 2002
           29. Mass Casualty and Disaster Management: The Columbine Shootings
               Grand Rounds, Day Kimball Hospital
               Putnam, Connecticut, May 2002
           30. Mass Casualty and Disaster Management: The Columbine Shootings
               Grand Rounds, Legacy Emanuel Hospital & Health Center
               Portland, Oregon, June 2002
           31. Mass Casualty and Disaster Management: The Columbine Shootings
               Trauma Grand Rounds, Scripps Memorial Hospital
               La Jolla, California, September 2002
           32. High Altitude Illness
               Annual Meeting, Sierra Cascade Trauma Society
               Vail, Colorado, January 2003
           33. ALS in Trauma: Should We Even Bother?
               30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, August 2003
           34. Hypothermia
               30th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado, August 2003
           35. Research in EMS
               Grand Rounds, Denver Paramedic Division
               Denver, Colorado September, 2003
           36. High Altitude Illness
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               Colorado State EMS Conference 2003
               Keystone, Colorado, October, 2003
           37. Controversies in EMS
               Colorado State EMS Conference 2003
               Keystone, Colorado, October 2003
           38. Hypothermia
               Sierra Cascade Trauma Society, 2004
               Aspen, Colorado, February 9, 2004
           39. Current Research in Prehospital Care
               Rocky Mountain Critical Care Transport Conference
               Denver, Colorado, May 6th, 2004
           40. Blood Substitutes in the Field
               Clinical Conference on Pre-Hospital Emergency Care, 2004
               Orlando, Florida, July 10th, 2004
           41. Management of Potential C-spine Injuries: Clearance and Beyond.
               31st Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Copper Mtn, Colorado. July 18th, 2004
           41. Mass Casualty and Disaster Management: The Columbine Shootings.
               Grand Rounds, North Colorado Medical Center
               Greeley, Colorado. September 14, 2004
           42. Research in EMS and Trauma
               12th Annual EMS and Trauma Grand Rounds Conference
               Aurora, Colorado. September 15, 2004
           43. Blood Substitutes in the Field: The Prehospital Trials
               2004 Colorado State EMS Conference
               Keystone, Colorado. November 5th, 2004
           44. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
               Cadaver. Preconference workshop, 2004 Colorado State EMS Conference
               Keystone, Colorado. Novemeber 5th, 2004
           45. Prehospital Management of Trauma
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 14th, 2005
           46. Difficult Airway Lecture/Lab
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2005
           47. Bleeding Disorders
               32nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2005
           48. Travel-Related Infectious Disease
               ACEP Scientific Assembly 2005
               September 28th, Washington D.C.
           49. The Hot Joint
               ACEP Scientific Assembly 2005
               September 29th, Washington D.C.
           50. Mass Casualty and Disaster Management
               Trauma and Critical Care Conference
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               San Juan Regional Medical Center, Farmington, New Mexico
               February 18th, 2006
           51. Dialysis Related Emergencies
               33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 14th, 2006
           52. Show Me Where it Hurts: Pain Management in the Field
               33rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 15th, 2006
           53. Environmental Emergencies
               2006 Rocky Mountain Rural Trauma Symposium
               September 14, 2006. Billings, Montana.
           54. Drugs of Abuse
               2006 Rocky Mountain Rural Trauma Symposium
               September 15, 2006. Billings, Montana.
           55. Cadaver Anatomy Lab: Dissection and Procedure Review on a Human
               Cadaver. Preconference workshop, 2006 Colorado State EMS Conference
               Keystone, Colorado.
           56. Dialysis-Related Emergencies
               2006 Colorado State EMS Conference
               November 3rd, 2006, Keystone, Colorado
           57. High-Altitude Illness
               2006 Colorado State EMS Conference
               November 3rd, 2006. Keystone, Colorado
           58. Drugs of Abuse
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 20th, 2007
           59. Environmental Emergencies
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 22th, 2007
           60. Ultrasound Use in the Acutely Traumatized Patient
               Instuctor, Ultrasound Workshop
               34th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               Breckenridge, Colorado. June 22th, 2007
           61. Jigawatts: Back to the Future of Electrical Injuries
               American College of Emergency Physicians - Scientific Assembly,
               October 8-11, 2007. Seattle, Washington
           62. What’s Hot, What’s Not: Hypo to Hyperthermia, and All Things in Between
               American College of Emergency Physicians - Scientific Assembly,
               October 8-11, 2007. Seattle, Washington
           63. Environmental Emergencies
               Colorado State EMS Conference, November 8th-11th, 2007
               Keystone, Colorado
           64. Cadaver Anatomy Lab: Dissection and Procedure Review.
               Colorado State EMS Conference 2007 – Pre-conference Workshop
               Keystone, Colorado
           65. Drugs of Abuse
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               Colorado Society of Osteopathic Medicine: The Medical “Home
               Improvements” Course. February 24th, 2008
               Keystone, Colorado
           66. Initial Evaluation of the Trauma Patient
               Colorado Society of Osteopathic Medicine: The Medical “Home
               Improvements” Course. February 24th, 2008
               Keystone, Colorado
           67. Geriatric Trauma
               35th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 25th, 2008
               Breckenridge, CO
           68. What’s Hot, What’s Not: Hypo to Hyperthemia and All Things in Between
               ACEP Scientific Assembly 2008, October 28th
               Chicago, Il
           69. Triage Out Debate: Efficient or Unethical?
               ACEP Scientific Assembly 2008, October 28th
               Chicago, Il
           70. Update in EMS Literature: What’s Hot and What’s Not
               ACEP Scientific Assembly 2008, October 29th
               Chicago, Il
           71. Cadaver Disection Lab
               2008 Colorado State EMS Conference, November 6th
               Breckenridge, CO
           72. Geriatric Trauma
               2008 Colorado State EMS Conference, November 7th
               Breckenridge, CO
           73. Lessons Learned from the DNC
               Colorado Front Range MMRS Hospital Response to a Mass Casualty
               Incident, December 8th, 2008
               Denver, CO
           74. Lessons Learned from the DNC
               The EMS State of the Sciences Conference: A Gathering of Eagles 2009
               February 20th, 2009
               Dallas, TX
           75. Nightmare EMS Communications
               The EMS State of the Sciences Conference: A Gathering of Eagles 2009
               February 21st, 2009
               Dallas, TX
           76. Mass Casualty and Disaster Management
               Trauma Perspectives 2009 (4/10/09)
               Durango, CO
           77. Airway Management and Pitfalls
               Trauma Perspectives 2009 (4/10/09)
               Durango, CO
           78. Trauma Management
               Integrated Clinicians Course (ICC) 7004
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               University of Colorado at Denver School of Medicine
               May 5th, 2009
           79. EMS Update, 2009
               Grand Rounds, Beth Israel/Deaconess Department of Emergency Medicine
               May 6th, 2009
           80. EMS Update – Panel Discussion
               36th Annual Trauma and Emergency Medicine Conference
               June 18th 2009, Breckenridge, CO
           81. Trauma in Pregnancy
               36th Annual Trauma and Emergency Medicine Conference
               June 19th 2009, Breckenridge, CO
           82. Cadaver Lab: Anatomical Dissection
               2009 Colorado State EMS Conference
               November 5th, Keystone, Colorado
           83. Trauma in Pregnancy
               2009 Colorado State EMS Conference
               November 6th, Keystone, Colorado
           84. Update in EMS Literature: What’s Hot and What’s Not
               2009 Colorado State EMS Conference
               November 6th, Keystone, Colorado
           85. Lessons Learned from the DNC
               International Preparedness and Response to Emergencies and Disasters
               (IPRED)
               January 12th 2010
               Tel Aviv, Israel
           86. Geriatric Trauma
               Second Annual BCFFA EMS Conference
               January 23rd 2010, Boulder, Colorado
           87. Pharmaceutical Restraints: A New Medication Approach to the Agitated
               Patient
               The EMS State of the Sciences Conference: A Gathering of Eagles 2010
               February 26th, 2010
               Dallas, Tx
           88. Transfer of the Rural Trauma Patient
               Second Annual Western Colorado Trauma Conference
               May 21st 2010, Delta, Colorado
           89. Moderator, EMS Medical Director Panel: “Refusal of Care in the Prehospital
               Setting”
               37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 17th 2010, Breckenridge, Colorado
           90. Critical Issues in Triage
               37th Annual Rocky Mountain Trauma and Emergency Medicine Conference
               June 18th 2010, Breckenridge, Colorado
           91. Field Triage Guidelines: State of the Art or State of the Science?
               ACEP Scientific Assembly 2010
               September 28th, Las Vegas, Nevada
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           92. Less Lethal Force: An Emerging Problem in Prehospital Care
               ACEP Scientific Assembly 2010
               September 29th, Las Vegas, Nevada
           93. Trauma Case Panel: Stump the Experts
               Carlo Rosen (Moderator), Christopher B. Colwell MD, John Fildes MD, Julie
               A. Mayglothling MD.
               ACEP Scientific Assembly 2010
               September 29th, Las Vegas, Nevada
           94. Critical Issues in Triage
               Trauma and Critical Care Conference
               October 22nd, 2010
               Durango, Colorado
           95. Trauma Panel Case Review
               Christopher B. Colwell, Moderator
               October 23rd, 2010
               Durango, Colorado
           96. Lightning and Electrical Emergencies
               Trauma and Critical Care Conference
               October 23rd, 2010
               Durango, Colorado
           97. Cadaver Dissection Lab
               Colorado State EMS Conference 2010
               November 4th, 2010
               Keystone, Colorado
           98. Accidental Hyper And Hypothermia And All Things In Between
               Colorado State EMS Conference 2010
               November 5th, 2010
               Keystone, Colorado
           99. Biophone Calls: The Good, The Bad, And The Ugly
               Colorado State EMS Conference 2010
               November 5th, 2010
               Keystone, Colorado
           100. Geocoding Cardiac Arrest in Denver
               ECCU 2010 (Emergency Cardiac Care Update)
               December 8th, 2010
               San Diego, California
           101. Management of the Agitated Patient
               ECCU 2010 (Emergency Cardiac Care Update)
               December 9th, 2010
               San Diego, California
           102. The Nose Knows: Intranasal Medication Options are Growing
               EMS State of the Sciences: A Gathering of Eagles XIII 2011
               February 26th, 2011
               UT Southwestern Medical Center, Dallas, Texas
           103. Beyond Agitated Delirium: Dealing with the Issue of In-Custody Deaths
               The EMS State of the Sciences: A Gathering of Eagles XIII 2011
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              February 26th, 2011
              UT Southwestern Medical Center, Dallas, Texas
           104. ED Operations 101: Follow the Money
              Council of Emergency Medicine Residency Directors (CORD) Academic
              Assembly 2011 (March 4th)
              San Diego, California
           105. CPR, Defibrillation, and Drugs: What is the right VF mix?
              EMS Regional Conference: Resuscitation Excellence
              May 15th, 2011
              New York, New York
           106. We Don’t Need No Stinking Breaths! Compressions Only Pre-Arrival
              Instructions.
              EMS Regional Conference: Resuscitation Excellence
              May 15th, 2011
              New York, New York
           107. Moderator – Panel Discussion: Optimizing Colorado’s Trauma System
              38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 22nd, 2011
              Breckenridge, Colorado
           108. Pitfalls in Trauma Care
              38th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 24th, 2011
              Breckenridge, Colorado
           109. Deleterious Delirium Deliberations: Modern Pitfall is Managing Agitated
              EMS Patients
              Advanced EMS Practitioner’s Forum and Workshop
              ACEP Scientific Assembly
              October 14th, 2011
              San Francisco, California
           110. Certifiable Behaviors: Preparing for EMS Subspecialty Board
              Certification
              Advance EMS Practitioner’s Forum and Workshop
              ACEP Scientific Assembly
              October 14th, 2011
              San Francisco, California
           111. Cadaver Dissection and Anatomy Lab
              Colorado State EMS Conference 2011
              November 3rd, 2011
              Keystone, Colorado
           112. On the Wings of Eagles: Hot Topics in EMS
              Colorado State EMS Conference 2011
              November 4th, 2011
              Keystone, Colorado
           113. Droperidol for Agitation
              Advanced Topics in Medical Direction
              NAEMSP National Meeting, 2012
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              January 11th, 2012
              Tucson, Arizona
           114. Trauma in Pregnancy
              Children’s Hospital EMS Conference
              Aurora, Colorado
              January 20th, 2012
           115. Withdrawing Support: A Prehospital Protocol for Alcohol Withdrawal
              EMS State of the Science: A Gathering of Eagles XIV
              February 24th, 2012
              Dallas, Texas
           116. A Sanguine Approach: The Use of Blood Products and Substitutes in the
              Field
              EMS State of the Science: A Gathering of Eagles
              February 24th, 2012
              Dallas, Texas
           117. Blast Injuries
              1st Annual Trauma Symposium
              March 15th, 2012
              Burlington, Colorado
           118. Rural Trauma
              1st Annual Trauma Symposium
              March 15th, 2012
              Burlington, Colorado
           119. Trauma in Pregnancy
              2012 NE Colorado EMS Symposium
              April 21st, 2012
              Fort Morgan, Colorado
           120. Hemorrhage Control in the Field: Tourniquets and Beyond
              Grand Rounds – St. Mary’s and Convent Health Care/Synergy Medical Center
              Hospitals
              May 10th, 2012
              Saginaw, Michigan
           121. Mass Casualty and Disaster Management
              Invited Lecture – Convent Health Care/Synergy Medical Center
              April 21st, 2012
              Saginaw, Michigan
           122. Trauma in Pregnancy
              39th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 29th, 2012
              Breckenridge, Colorado
           123. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
              Emergency Cardiac Care Update (ECCU) 2012
              Pre-conference Workshop
              September 12th, 2012
              Orlando, Florida
           124. Withdrawing Support: Managing Alcohol Withdrawal in the Field
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              Emergency Cardiac Care Update (ECCU) 2012
              Pre-conference Workshop
              September 12th, 2012
              Orlando, Florida
           125. Making Waves Diagnostically: Identifying Subtle Critical Emergencies
              with Capnography
              Emergency Cardiac Care Update (ECCU) 2012
              Conference Session – Eagles: State of the Science
              September 13th, 2012
              Orlando, Florida
           126. Two Carbon Fragmentations: A Prehospital Protocol for Ethanol
              Withdrawal.
              2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
              October 7th, 2012
              Denver, Colorado
           127. How to Break the Ache: 2012 Approaches to Prehospital Pain Control
              2012 ACEP Advanced EMS Practitioners’ Forum and Workshop
              October 7th, 2012
              Denver, Colorado
           128. I’d Scan That! Effective Diagnostic Trauma Imaging
              ACEP Scientific Assembly
              October 9th, 2012
              Denver, Colorado
           129. Evidence-Based Minor Trauma Management
              ACEP Scientific Assembly
              October 9th, 2012
              Denver, Colorado
           130. Trauma Talk: The Latest and the Greatest Trauma Literature
              ACEP Scientific Assembly
              October 10th, 2012
              Denver, Colorado
           131. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield
              ACEP Scientific Assembly
              October 10th, 2012
              Denver, Colorado
           132. MCI Medical Response: Are We Prepared?
              Denver Health Critical Care Conference
              October 12th, 2012
              Denver, Colorado
           133. The Colorado Shootings: Lessons Learned from Mass Casualty Events
              Grand Rounds – Beth Israel/Deaconess Medical Center
              November 7th, 2012
              Boston, Massachusetts
           134. The Colorado Shootings: Lessons Learned from Mass Casualty Events
              Keynote Speaker: Hillsborough County Medical Association
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              November 13th, 2012
              Tampa Bay, Florida
           135. The Colorado Shootings: Lessons Learned on Disaster Management and
              Mass Casualty Events
              Grand Rounds: Scripps Memorial Hospital
              December 11th, 2012
              La Jolla, California
           136. EMS in the Cross-Hairs: The Columbine, Aurora and Safeway Shootings
                  EMS State of the Science: A Gathering of Eagles XV
                  February 22nd, 2013
                  Dallas, Texas
           137. Oh, What a Relief It Is! Revisiting Pain Medication Use in EMS
                  EMS State of the Science: A Gathering of Eagles XV
                  February 22nd, 2013
                  Dallas, Texas
           138. ED Operations 101: Follow the Money
                  Council of Emergency Medicine Residency Directors (CORD)
                  Academic Assembly 2013
                  March 7th, 2013
                  Denver, Colorado
           139. Disaster Planning & Response: Lessons Learned from the Colorado
              Shootings
                  Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
                  Response
                  March 17th, 2013
                  Las Vegas, Nevada
           140. Case Management Interactive Session: Practical Issues & Dilemmas in
              Mass Casualty Preparedness
                  Trauma, Critical Care, and Acute Care Surgery 2013 – Medical Disaster
                  Response
                  March 17th, 2013
                  Las Vegas, Nevada
           141. Trauma Surgeons Emergency Physicians and Trauma Care
                  Trauma, Critical Care, and Acute Care Surgery 2013
                  March 20th, 2013
                  Las Vegas, Nevada
           142. Mass Casualty and Disaster Management – The Colorado Shootings
                  Visiting Professorship/Grand Rounds
                  Southern Illinois University School of Medicine
                  April 18th, 2013
                  Springfield, Illinois
           143. Mass Casualty and Disaster Management – The Colorado Shootings
                  Sangamon County Medical Society
                  April 18th, 2013
                  Springfield, Illinois
           144. Lessons Learned from the Colorado Shootings
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                 12th Annual Trauma Symposium
                 Mississippi Coastal Trauma Region
                 May 1st, 2013
                 Biloxi, Mississippi
           145. Mass Casualty and Disaster Management – The Colorado Shootings
                 Grand Rounds – Indiana University Hospital-Methodist
                 May 10th, 2013
                 Indianapolis, Indiana
           146. Prehospital Panel
                 Moderator
                 40th Annual Rocky Mountain Trauma & Emergency Medicine
                 Conference
                 June 27th, 2013
                 Breckenridge, Colorado
           147. Environmental Emergencies
                 40th Annual Rocky Mountain Trauma & Emergency Medicine Conference
                 June 28th, 2013
                 Breckenridge, Colorado
           148. Lessons Learned from the Colorado Shootings
                 43rd Annual Wyoming Trauma Conference
                 August 16th, 2013
                 Cheyenne, Wyoming
           149. Oh What a Relief It Is: Evolving Trends in Prehospital Pain Management
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           150. EMS in the Cross-Hairs: The Columbine, Aurora, and Safeway Shootings
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           151. The Reality of the New Specialty: What Will Be the Impact of the New
              EMS Boards for Fire?
                 IAFF Advanced EMS Practitioners, Chiefs, & Medical Directors Forum
                 August 24th, 2013
                 Denver, Colorado
           152. I’d Scan That!: Use of CT Scans in Trauma Care
                 Grand Rounds – University of Wisconsin School of Medicine
                 August 29th, 2013
                 Madison, Wisconsin
           153. Evidence-Based Minor Trauma Management
                 Grand Rounds – University of Wisconsin School of Medicine
                 August 29th, 2013
                 Madison, Wisconsin
           154. Mass Casualty and Disaster Management: EMS Lessons from the
              Colorado Shootings
                 EMS World Expo 2013
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                 September 11th, 2013
                 Las Vegas, Nevada
           155. 2013 Approaches to Pain Management and Sedation
                 EMS World Expo 2013
                 September 11th, 2013
                 Las Vegas, Nevada
           156. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
                 DuPage County Medical Society Annual Meeting
                 October 9th, 2013
                 Chicago, Illinois
           157. Mass Casualty Management: The Colorado Shootings
                 Northern Colorado Emergency and Trauma Care Symposium
                 October 11th, 2013
                 Loveland, Colorado
           158. The Combative, Uncooperative, Arrested and Threatening Trauma Patient:
              A Legal, Ethical and Medical Minefield!
                 ACEP Scientific Assembly 2013
                 October 15th, 2013
                 Seattle, Washington
           159. Skip the Scan! Effective Diagnostic Trauma Imaging
                 ACEP Scientific Assembly 2013
                 October 16th, 2013
                 Seattle, Washington
           160. I Survived: Domestic Disasters – Lessons Learned from the Trenches
                 ACEP Scientific Assembly 2013
                 October 16th, 2013
                 Seattle, Washington
           161. Managing Ballistic Injuries in the Pre-Hospital Setting
                 World Extreme Medicine Expo 2013
                 Harvard Medical School
                 October 28th, 2013
                 Boston, Massachusetts
           162. Cadaver Lab – Trauma Procedures
                 Colorado State EMS Conference 2013
                 November 7th, 2013
                 Keystone, Colorado
           163. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
                 2013 Trauma and Critical Care Conference
                 November 8th, 2013
                 Durango, Colorado
           164. Mass Casualty and Disaster Management: The Colorado Shootings
                 Lake County Medical Society Annual Meeting
                 December 3rd, 2013
                 Chicago, Illinois
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           165.  Myths in Trauma Care
                 Yampa Valley Medical Center Trauma Conference
                 November 15th, 2013
                 Steamboat Springs, Colorado
           166. Myths in Pediatric Care
                 The Brian Schimpf Memorial Prehospital Pediatric Care Conference
                 February 8th, 2014.
                 Denver, Colorado
           167. Child-Like Behaviors: 10 Myths of EMS Pediatric Care
                 EMS State of the Science: A Gathering of Eagles XVI
                 February 28th, 2014
                 Dallas, Texas
           168. Epidemic Proportions: Dosing Ketamine in the Era of Mamba Dramas
                 EMS State of the Science: A Gathering of Eagles XVI
                 March 1st, 2014
                 Dallas, Texas
           169. Covering Mental Illness and Violence
                 Health Journalism 2014 (Association of Health Care Journalism)
                 March 29th, 2014
                 Denver, Colorado
           170. Wound Management: How Do you Manage Cuts and Burns
                 American College of Emergency Physicians (ACEP) Advanced Practice
                 Provider Academy
                 April 15th, 2014
                 San Diego, CA
           171. Evaluation of Patients with Blunt Multiple Trauma and Penetrating
              Trauma: A Systematic Approach
                 American College of Emergency Physicians (ACEP) Advanced Practice
                 Provider Academy
                 April 15th, 2014
                 San Diego, CA
           172. Preparedness Put to the Test: Lessons Learned from Major Events to
              Guide Hospital Disaster Preparedness
                 Medical World Americas Conference and Expo
                 April 28th, 2014
                 Houston, TX
           173. Myths in Trauma Care
                 13th Annual MS Coastal Trauma Symposium
                 May 14th, 2014
                 Biloxi, MS
           174. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
              Emergency Care
                 Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
                 June 3rd, 2014
                 Las Vegas, NV
           175. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
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                  Emergency Cardiac Care Update (ECCU), EMS Preconference Workshop
                  June 3rd, 2014
                  Las Vegas, NV
           176. Anxiolysis for the Cardiac Care Provider: Easy Choices for Sedation in
              Emergency Care
                  Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
              Foundation: Clinical Solutions and Best Practices for EMS
                  June 4th, 2014
                  Las Vegas, NV
           177. Taking it on the QT: What are the Cardiac Effects of Sedation Practices?
                  Emergency Cardiac Care Update (ECCU), 2014 Citizens CPR
              Foundation: Clinical Solutions and Best Practices for EMS
                  June 4th, 2014
                  Las Vegas, NV
           178. Hyperfibrinolysis, Physiologic Fibrinolysis, and Fibrinolysis Shutdown:
              The Spectrum of Postinjury Fibrinolysis and Relevance to Antifibrinolytic
              Therapy
              Moderator - Denver Health Trauma Services Continuing Education Series
              June 25th, 2014
              Denver, CO
           179. Myths in Pediatric Emergency Care
              41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
              July 9th, 2014
              Breckenridge, CO
           180. The Combative, Uncooperative, Intoxicated Patient: An Ethical, Moral
              and Legal Dilemma
              41st Annual Rocky Mountain Trauma and Emergency Medicine Conference
              July 11th, 2014
              Breckenridge, CO
           181. Myths in Pediatric Care
              2014 University of Colorado Health and Denver Health Trauma Consortium:
              Acute Care Surgery, Trauma, and EMS Conference
              August 23rd, 2014
              Colorado Springs, CO
           182. Rural Trauma Care
              Great Plains Trauma Conference
              September 18th, 2014
              North Platte, Nebraska
           183. How to Break the Ache: 2014 Ways to Manage Prehospital Analgesia and
              Sedation
              Advanced EMS Practitioner’s Forum and Workshop
              ACEP 2014
              October 26th, 2014
              Chicago, Illinois
           184. No Small Lie: Debunking Myths in Pediatric EMS Care
              Advanced EMS Practitioner’s Forum and Workshop
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              ACEP 2014
              October 26th, 2014
              Chicago, Illinois
           185. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 27th, 2014
              Chicago, Illinois
           186. Cruising the Literature: The Most Influential EMS Articles of 2014
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
           187. Tales from the Rig: EMS Medical Director Words of Wisdom
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
           188. Imagine a World Without Backboards? Controversies in Spinal
              Immobilization
              American College of Emergency Physicians (ACEP) Scientific Assembly
              2014
              October 28th, 2014
              Chicago, Illinois
           189. Disaster Management: Lessons Learned from the Colorado Shootings
              Keynote Address: 9th Annual NORTN Regional Trauma Conference
              November 7th, 2014
              Akron General Hospital, Akron, Ohio
           190. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              9th Annual NORTN Regional Trauma Conference
              November 7th, 2014
              Akron General Hospital, Akron, Ohio
           191. Ketamine for Excited Delirium
              EMS World Expo
              November 11th, 2014
              Nashville, TN
           192. 10 Myths of EMS Pediatric Care
              EMS World Expo
              November 11th, 2014
              Nashville, TN
           193. Biophone Communications
              EMS World Expo
              November 11th, 2014
              Nashville, TN
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           194. EMS Medical Director Panel
              EMS World Expo
              November 12th, 2014
              Nashville, TN
           195. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield!
              Boulder Community Hospital/AMR EMS Conference 2014
              December 6th, 2014
              Boulder, CO
           196. Special K: Ketamine in EMS
              7th Annual Advanced Topics in Medical Direction
              NAEMSP 2015
              January 20th, 2015
              New Orleans, LA
           197. First it was Backboards, now C-Collars
              EMS State of the Science: A Gathering of Eagles XVII
              February 20th, 2015
              Dallas, TX
           198. Taking it to the Streets! Prehospital Infusion of Plasma
              EMS State of the Science: A Gathering of Eagles XVII
              February 20th, 2015
              Dallas, TX
           199. Street Fighting Man! When the Combative Patient is Refusing Transport
              EMS State of the Science: A Gathering of Eagles XVII
              February 21st, 2015
              Dallas, TX
           200. A Hurt-Full Remark: Supporting Ketamine Use for Pain Management
              EMS State of the Science: A Gathering of Eagles XVII
              February 21st, 2015
              Dallas, TX
           201. Imagine a World Without Backboards? Controversies in Spinal
              Immobilization
              2nd Annual Brain Schimpf Memorial Pediatric EMS Conference
              February 28th, 2015
              Denver, CO
           202. Providing for the Providers: Impact of Traumatic Events on Providers
              Keynote address: Colorado CPR Association Annual Meeting
              April 30th, 2015
              Denver, CO
           203. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              North Trauma Care Region 2015 Trauma Symposium
              May 8th, 2015
              Tupelo, MS
           204. Management of Excited Delirium in the Era of Legalized Marijuana
              Vanderbilt Residency in Emergency Medicine
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              May 19th, 2015
              Nashville, TN
           205. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Grand Rounds Presentation, Vanderbilt University School of Medicine
              May 19th, 2015
              Nashville, TN
           206. Active Shooter – Prehospital Forum (Moderator)
              42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 19th, 2015
              Vail, Colorado
           207. Imagine a World without Backboards
              42nd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 20th, 2015
              Vail, Colorado
           208. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Ohio EMS Lecture Series – Keynote address
              August 20th, 2015
              Akron, Ohio
           209. Myths in Pediatric Care
              Grand Rounds, Deaconess Regional Trauma Center
              EMS Trauma Symposium
              September 9th, 2015
              Evansville, Indiana
           210. Plasma Administration in the Field: The COMBAT Trial
              World Trauma Symposium
              September 16th, 2015
              Las Vegas, Nevada
           211. The Combative, Uncooperative, Intoxicated Trauma Patient: A Medical,
              Legal, and Ethical Nightmare!
              EMS World
              September 17th, 2015
              Las Vegas, Nevada
           212. The Medical Impact of Marijuana Legalization
              EMS World
              September 17th, 2015
              Las Vegas, Nevada
           213. How to Deploy a New Toy for Every Girl and Boy: Implementing a
              Simpler System for Treating Children
              ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
              Workshop
              October 25th, 2015
              Boston, Massachusetts
           214. For the Life of all Flesh is the Blood Thereof! Prehospital Use of Blood
              Products and Systemic Bleeding Control
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              ACEP 2015 Scientific Assembly Advanced EMS Practitioners Forum and
              Workshop
              October 25th, 2015
              Boston, Massachusetts
           215. Trauma STAT! Don’t Miss the Visual Cue
              ACEP Scientific Assembly 2015
              October 28th, 2015
              Boston, Massachusetts
           216. The Combative, Uncooperative Trauma Patient
              ACEP Scientific Assembly 2015
              October 28th, 2015
              Boston, Massachusetts
           217. How to Deploy a New Toy for Every Girl and Boy: Implementing a
              Simpler System for Treating Children
              EAGLES – Best Practices in Street Medicine: Implementing the New
              Guidelines and Several Exceptional Innovations in Out-of-Hospital
              Emergency Cardiac Care
              ECCU (Emergency Cardiovascular Care Update) 2015
              December 9th, 2015
              San Diego, California
           218. Anxiolysis in Emergency Cardiac Care: 2015 Approaches to Safe
              Sedation
              EAGLES – Best Practices in Street Medicine: Implementing the New
              Guidelines and Several Exceptional Innovations in Out-of-Hospital
              Emergency Cardiac Care
              ECCU (Emergency Cardiovascular Care Update) 2015
              December 9th, 2015
              San Diego, California
           219. Latest Drugs of Abuse: The Impact of Legalization of Marijuana and
              Testing of EMS Personnel
              EMS Today (JEMS Conference and Exposition
              February 25th, 2016
              Baltimore, Maryland
           220. Chemical Suicides
              EMS Today (JEMS Conference and Exposition)
              February 25th, 2016
              Baltimore, Maryland
           221. Lightning Rounds: Ask the Eagles
              EMS Today (JEMS Conference and Exposition)
              February 26th, 2016
              Baltimore, Maryland
           222. Deliriously Yours: 2016 Approaches to Managing the Toxic Patients
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
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           223. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
              Anxiety, and Stress in EMS
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
           224. There Will Be Blood in the Streets: On-Scene Use of Plasma, Cells and
              Other Clot-Musters
              First There First Care Regional EMS Conference
              May 26th, 2016
              Broward County, Florida
           225. Trauma in Pregnancy
              43rd Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 18th, 2016
              Denver, Colorado
           226. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Zuckerberg San Francisco General Hospital and Trauma Center Department
              of Medicine Grand Rounds
              September 6th, 2016
              San Francisco, California
           227. Primum Non Nocere – to Yourself: Responding to the Malicious Mayhem
              of Mentally-ill Menaces
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           228. No Child (or Adult) Left Behind? The Complexities of Patient Refusal &
              Non-Transport Decisions
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           229. Taking the Pressure Off Sedation: Why Ketamine is My Pet Amine
              2016 ACEP Scientific Assembly – Advanced EMS Practitioner’s Forum and
              Workshop
              October 15th, 2016
              Las Vegas, Nevada
           230. Beyond the MVC: Burned, Blasted, and Bolted Trauma Victims
              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           231. Fast Facts: Let’s Chat About Trauma
              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           232. The Combative, Uncooperative, Trauma Patient
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              2016 ACEP Scientific Assembly
              October 16th, 2016
              Las Vegas, Nevada
           233. Managing the Malicious Mayhem from Mentally Ill Menaces: The
              Evolving Roles of EMS in Active Shooter Incidents
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           234. Grass Roots Experience with Swedish Fish: A Token Presentation on
              Marijuana Legalization
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           235. Promoting Post-Traumatic Provider Protection: Dealing with Depression,
              Anxiety, and Stress in EMS
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           236. Minding Your P’s and Q’s: What are the Actual Cardiac Effects of
              Sedation Practices?
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           237. It’s No Small Matter: Implementing a Simpler System for Treating
              Children
              41st Annual Alaska EMS Symposium
              November 4th, 2016
              Anchorage, Alaska
           238. Calling a Code Alert on our Mental Health: Suicide in EMS
              2017 NAEMSP Annual Meeting and Scientific Assembly
              January 26th, 2017
              New Orleans, Louisiana
           239. Child Abuse
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           240. Apparent Life-Threatening Events
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           241. Impact of Marijuana Legalization
              2017 Iowa Emergency Medical Services Association Pediatric Conference
              February 25th, 2017
              Des Moines, Iowa
           242. Myths in Pediatric Care
              2017 Iowa Emergency Medical Services Association Pediatric Conference
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              February 25th, 2017
              Des Moines, Iowa
           243. Traumatic Shock
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           244. Penetrating Abdominal Trauma
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           245. The Combative, Intoxicated Trauma Patient: A Medical, Legal, and
              Ethical Conundrum!
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           246. Geriatric Trauma
              UCSF High Risk Emergency Medicine Conference
              April 9th, 2017
              Maui, Hawaii
           247. Accidental Hypothermia
              Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
              UCSF Wilderness Medicine Medical School Elective and Mini Medical
              School for the Public
              April 26th, 2017
              San Francisco, California
           248. High Altitude Illness
              Wilderness Medicine: Avoiding and Managing Outdoor Medical Emergencies
              UCSF Wilderness Medicine Medical School Elective and Mini Medical
              School for the Public
              April 26th, 2017
              San Francisco, California
           249. Managing the Crashing, Combative Trauma Patient
              High Risk Emergency Medicine San Francisco
              June 1st, 2017
              San Francisco, California
           250. Imaging in Trauma
              High Risk Emergency Medicine San Francisco
              June 1st, 2017
              San Francisco, California
           251. Safe Sedation in the Era of Legalized Marijuana
              National EMS Safety Summit
              August 21st, 2017
              Denver, Colorado
           252. Safety in EMS – Panel Discussion
              National EMS Safety Summit
              August 22nd, 2017
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              Denver, Colorado
           253. Lessons Learned from Active Shooter Scenarios
              6th Annual Medical-Legal Forum
              Mile High Regional Medical and Trauma Advisory Council
              September 28th, 2017
              Lakewood, Colorado
           254. Integration and Challenges of Local, State and Federal Medical Surge
              Resources – Perspectives on the SFFW Full Scale Exercise and Asset
              Integration
              Panelist – Medical Peer to Peer Exchange Seminar
              San Francisco Fleet Week 2017
              October 4th, 2017
              San Francisco, California
           255. Trauma STAT! Don’t Miss This Visual Cue!
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
              Washington D.C.
           256. FAST FACTS: Let’s Chat About Adult Trauma
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
              Washington D.C.
           257. Advanced Wound Care Closure in the ED: Putting the Pieces Back
              Together
              American College of Emergency Physicians (ACEP) Scientific Assembly
              October 31st, 2017
              Washington D.C.
           258. Pediatric Resuscitation is No Small Matter: 2017 Approaches to Managing
              Cardiac Events in Children
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 5th, 2017
              New Orleans, Louisiana
           259. De-MS in EMS: Fentanyl versus Morphine for Chest Pain Management
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 5th, 2017
              New Orleans, Louisiana
           260. Toxic Remarks: Case Studies of Cardiac Effects of Drugs of Abuse
              Emergency Cardiovascular Care Update (ECCU) 2017
              December 6th, 2017
              New Orleans, Louisiana
           261. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Grand Rounds – University of Michigan Department of Emergency Medicine
              January 10th, 2018
              Ann Arbor, Michigan
           262. Better Mind Your P’s and Q;s: Subtle Cardiac Effects of Drugs of Abuse
              EMS State of the Science: A Gathering of Eagles XX
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              March 2nd, 2018
              Dallas, Texas
           263. DeMSing EMS: Why I’d Get Rid of Morphine Sulfate
              EMS State of the Science: A Gathering of Eagles XX
              March 3rd, 2018
              Dallas, Texas
           264. A Grass Roots Experience: The Medical Implications of Marijuana
              Legalization in Colorado
              ZSFG Medicine Grand Rounds
              March 27th, 2018
              San Francisco, California
           265. Pitfalls in the Trauma Airway
              UCSF High Risk Emergency Medicine Hawaii
              April 9th, 2018
              Maui, Hawaii
           266. Challenging Trauma Case Panel
              Moderator
              UCSF High Risk Emergency Medicine
              April 11th, 2018
              Maui, Hawaii
           267. Pitfalls in Patients with Stab Wounds
              UCSF High Risk Emergency Medicine Hawaii
              April 10th, 2018
              Maui, Hawaii
           268. Pitfalls in the Patient Found Down
              UCSF High Risk Emergency Medicine Hawaii
              April 10th, 2018
              Maui, Hawaii
           269. The Combative, Uncooperative Trauma Patient
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           270. Mass Casualty: Lessons Learned from the Colorado Shootings
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           271. The Medical Impact of Marijuana Legalization
              SEMPA 360 – Society of Emergency Medicine Physician Assistants National
              Assembly
              May 5th, 2018
              San Antonio, Texas
           272. Update on Urologic Emergencies
              Moderator – Panel Discussion on Testicular Torsion, Priapism, and Penile
              Fracture
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              American Urological Association (AUA) Annual Meeting 2018
              May 20th, 2018
              San Francisco, California
           273. Assessing Capacity in the Intoxicated Trauma Patient
              Keynote Address – 45th Annual Rocky Mountain Trauma and Emergency
              Medicine Conference
              June 7th, 2018
              Vail, Colorado
           274. Pitfalls in Patients with Stab Wounds
              45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 8th, 2018
              Vail, Colorado
           275. Trauma Panel of Experts
              45th Annual Rocky Mountain Trauma and Emergency Medicine Conference
              June 8th, 2018
              Vail, Colorado
           276. Cruising the Literature: Trauma 2018
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 2nd, 2018
              San Diego, California
           277. Fast Facts: Let’s Chat about Adult Trauma
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 2nd, 2018
              San Diego, California
           278. ED Thoracotomy: When, Who, and How
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 3rd, 2018
              San Diego, California
           279. Clear as Mud: C-Spine Clearance 2018
              American College of Emergency Physicians (ACEP) National Scientific
              Assembly 2018
              October 3rd, 2018
              San Diego, California
           280. Grass-Roots Experience with Rocky Mountain Highs: What Marijuana
              Legislation did for the C-States
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           281. How to De-Code the No-Load Mode: When a Patient Declines Transport
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
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           282. Mitigating Child-Like Behaviors: Dismantling Major Myths of EMS Care
              for Kids
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           283. Not Just a Breathless Experience: The Cardiac Effects of Drugs of Abuse
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           284. Altered States of Mind – Part 1: Sedation Practices in EMS
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           285. Causalities for Caustic Cautions About Precautions: 2018 Approaches to
              Spinal Motion Restriction
              South Florida EMS State of the Science
              November 8th, 2018
              Hollywood, Florida
           286. On the Wings of Eagles – Hot Topics in EMS
              Iowa EMS Association (IEMSA) Annual Meeting
              November 9th, 2018
              Des Moines, Iowa
           287. Myths in Pediatric Care
              Iowa EMS Association (IEMSA) Annual Meeting
              November 10th, 2018
              Des Moines, Iowa
           288. Impact of Legalization of Marijuana on EMS/The Combative Intoxicated
              Patient
              Iowa EMS Association (IEMSA) Annual Meeting
              November 10th, 2018
              Des Moines, Iowa
           289. Intubation and Sedation of the Critically Ill Patient
              High Risk Emergency Medicine 2019
              February 19th, 2019
              Honolulu, Hawaii
           290. Transfer of the Trauma Patient
              High Risk Emergency Medicine 2019
              February 20th, 2019
              Honolulu, Hawaii
           291. Advanced Wound Care Closure in the ED
              High Risk Emergency Medicine 2019
              February 22nd, 2019
              Honolulu, Hawaii
           292. Persistent Injurious Concepts: Continuing Major Myths in Trauma Care
              EMS State of the Science XXI: A Gathering of Eagles
              March 1st, 2019
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              Dallas, Texas
           293. Electrocardiography 501: Subtle ECG Findings You Might Miss
              EMS State of the Science XXI: A Gathering of Eagles
              March 2nd, 2019
              Dallas, Texas
           294. The History of Emergency Medicine
              San Diego Trauma Society
              April 12th, 2019
              San Diego, California
           295. Trauma Literature 2019 – The Latest and Greatest
              Grand Rounds: Mount Sinai Health System/Icahn School of Medicine
              April 16th, 2019
              New York, New York
           296. Hypothermia and Cold Related Injury
              2019 Wilderness Medicine Elective
              UCSF School of Medicine
              May 1st, 2019
              San Francisco, California
           297. High Altitude Illness
              2019 Wilderness Medicine Elective
              UCSF School of Medicine
              May 1, 2019
              San Francisco, California
           298. Precautionary Cautions About Precautions: 2019 Approaches to Spinal
              Motion Restriction
              Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           299. Mitigating Child-Like Behaviors: Dismantling the Major Myths about
              Managing Maladies in Minors
              Polk County Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           300. Acing the Tracing Your Facing: Subtle ECG Findings You Don’t Want to
              Miss
              Polk Country Fire Rescue EMS Week 2019 Medical Seminar – Eagles
              May 23rd, 2019
              Orlando, Florida
           301. Mass Casualty and Disaster Management – Lessons Learned from the
              Colorado Shootings
              Grand Rounds – Department of Emergency Medicine
              University Hospitals Cleveland Medical Center
              June 13th, 2019
              Cleveland, Ohio
           302. High Altitude Illness
              University Hospitals Cleveland Medical Center
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              June 13th, 2019
              Cleveland, Ohio
           303. Sedation of the Trauma Patient
              University Hospitals Cleveland Medical Center
              June 13th, 2019
              Cleveland, Ohio
           304. Mass Casualty and Disaster Management: Lessons Learned from the
              Colorado Shootings
              Keynote address – 31st Annual David Miller Memorial Trauma Symposium
              October 11th, 2019
              Springfield, Missouri
           305. The Combative, Uncooperative, Arrested, and Threatening Trauma
              Patient: A Legal, Ethical, and Medical Minefield
              31st Annual David Miller Trauma Symposium
              October 11th, 2019
              Springfield, Missouri
           306. Management of Pelvic Trauma – Binders, REBOA, and More!
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 28th, 2019
              Denver, Colorado
           307. Life Saving Procedures in Trauma
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 28th, 2019
              Denver, Colorado
           308. Cruising the Literature – Best Trauma Articles of 2019
              American College of Emergency Physicians (ACEP) Scientific Assembly,
              2019 [ACEP19]
              October 29th, 2019
              Denver, Colorado
           309. Transfer of the Trauma Patient
              Grand Rounds – Kaiser San Francisco
              December 3rd, 2019
              San Francisco, California
           310. Management of Pelvic Fractures
              Grand Rounds – Vanderbilt University Medical Center
              December 17th, 2019
              Nashville, Tennessee
           311.
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     Certifications

                     NRP, 2009
                     ATLS, 2003
                        o ATLS Instructor
                                 November 18th, 2016
                                 July 23rd, 2017
                                 June 25th, 2018
                                 June 24th, 2019
                                 October 17th, 2019
                     ACLS, 1996
                     PALS, 1994
                     ATLS instructor, 2010 – present
                     BLS, 2016

     Media

                     Tales From the Front Lines - San Francisco Magazine – September, 2017
                     How to Control Bleeding – The New York Times Magazine – April 22nd,
                      2018
                     Skinned Knees to Broken Heads: Tracking Scooter Injuries – The New
                      York Times – August 3rd, 2018
                     Interview – NBC – Scooter injuries – August 8th, 2018
                     Interview – San Francisco Chronicle – Scooter Injuries – August 11th,
                      2018
                     Wines on a Plane: Does Drinking Affect You Differently While Flying? –
                      Wine Spectator, August 21st, 2018
                     National Public Radio (NPR) segment – Heat Related Emergencies –
                      October, 2018
                     Interview – KPIX TV Channel 5 – Scooter injuries - January 25th, 2019
                     Interview – San Francisco Chronicle – Scooter Injuries – January 26th,
                      2019
                     Interview – RTV6 Indianapolis – Marijuana use kills Indiana teen, mother
                      speaks out. Stephanie Wade, April 11, 2019
                      (https://www.theindychannel.com/news/working-for-you/marijuana-use-
                      kills-indiana-teen-mother-speaks-out)
                     Interview – The New Yorker – Twenty years after Columbine. Michael
                      Luo, April 20th, 2019. (https://www.newyorker.com/news/news-
                      desk/twenty-years-after-columbine)
                     Interview – Fox KTVU Channel 2 – San Francisco averaged one fentanyl
                      overdose death a week last year. Amber Led, June 25th, 2019
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                   (http://www.ktvu.com/news/ktvu-local-news/san-francisco-averaged-one-
                   fentanyl-overdose-death-a-week-last-year)
                  Patients Leaving AMA: Signed Forms Alone Are Not Sufficient
                   Malpractice Defense. ED Legal Letter, Volume 30, No. 8, p. 85-88,
                   August, 2019
                  Interview – San Francisco Chronicle – Psychiatric patients in the ED.
                   August 15, 2019
                  Interview – San Francisco Examiner – ED Diversion – September 26th,
                   2019
                  Interview – San Francisco Chronicle – Emergency department
                   management of substance abuse – November 5th, 2019
                  Interview – KTVU Channel 2 Morning News (Mornings on 2) – Holiday
                   mishaps – December 20th, 2019 https://sfgov1-
                   my.sharepoint.com/:v:/r/personal/maricella_miranda_sfdph_org/Documen
                   ts/Media/KTVU%202_Chris%20Colwell_ED%20holidays_2019/IMG_05
                   71.MOV?csf=1&e=RQGwJN
               


     Additional Activities

                      American Board of Emergency Medicine (ABEM) Oral Board
                       Examiner
                        October 8-11, 2016
                        October 14-17, 2017
                        October 13-16, 2018
                        October 5-8, 2019
                      President, Sigma Phi Epsilon fraternity, Ann Arbor, MI 1987-1988
                       Active Member: 1984-1988
                      Varsity Tennis, University of Michigan, Ann Arbor, MI 1984-1988
                       Big Ten Team Champions: 1985, 1986, 1988. NCAA Team
                       Semifinals: 1988
                      Psi Chi Honor Society 1987-1988
                      Captain, Varsity Tennis Team, La Jolla High School, La Jolla, CA
                      Michigan Alumnae Scholarship recipient, San Diego Chapter 1984-
                       1985

     Languages     Fluent in Spanish
